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From:                      TMOfficialNotices@USPTO.GOV
Sent:                      Monday, August 3, 2015 11:00 PM
To:                        abufalino@vedderprice.com
Cc:                        hmiller@vedderprice.com ; ipdocket@vedderprice.com
Subject:                   Official USPTO Notice of Acceptance and Renewal Sections 8 and 9: U.S. Trademark RN 1349997: TILT: Docket/Reference No. 00620000002

Serial Number: 73410259
Registration Number: 1349997
Registration Date: Jul 16, 1985
Mark: TILT
Owner: NICKELS AND DIMES INCORPORATED



                                                                                 Aug 3, 2015

                                                       NOTICE OF ACCEPTANCE UNDER SECTION 8
The declaration of use or excusable nonuse filed for the above-identified registration meets the requirements of Section 8 of the Trademark Act, 15 U.S.C. §1058. The Section
8 declaration is accepted.

                                              NOTICE OF REGISTRATION RENEWAL UNDER SECTION 9
The renewal application filed for the above-identified registration meets the requirements of Section 9 of the Trademark Act, 15 U.S.C. §1059. The registration is renewed.

The registration will remain in force for the class(es) listed below for the remainder of the ten-year period, calculated from the registration date, unless canceled by
an order of the Commissioner for Trademarks or a Federal Court.

Class(es):
041




TRADEMARK SPECIALIST
POST-REGISTRATION DIVISION
571-272-9500




                                   REQUIREMENTS FOR MAINTAINING REGISTRATION IN SUCCESSIVE TEN-YEAR PERIODS

WARNING: Your registration will be canceled if you do not file the documents below during the specified time periods.

What and When to File: You must file a declaration of use (or excusable nonuse) and an application for renewal between every 9th and 10th-year period, calculated from the
registration date. See 15 U.S.C. §§1058, 1059.

Grace Period Filings

The above documents will be considered as timely if filed within six months after the deadlines listed above with the payment of an additional fee.

***The USPTO WILL NOT SEND ANY FURTHER NOTICE OR REMINDER OF THESE REQUIREMENTS. THE REGISTRANT SHOULD CONTACT THE USPTO ONE
YEAR BEFORE THE EXPIRATION OF THE TIME PERIODS SHOWN ABOVE TO DETERMINE APPROPRIATE REQUIREMENTS AND FEES.***

To view this notice and other documents for this application on-line, go to http://tdr.uspto.gov/search.action?sn=73410259. NOTE: This notice will only be available on-line the
next business day after receipt of this e-mail.




                                                                              Exhibit 1
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                                                                                                                       Commissioner for Trademarks
                                                                                                                                  2900 Crystal Drive
                                                                                                                         Arlington, VA 22202-3514
                                                                                                                                     www.uspto.gov
REGISTRATION NO: 1349997    SERIAL NO: 73/410259 MAILING DATE: 09/20/2004
REGISTRATION DATE: 07/16/1985
MARK: TILT
REGISTRATION OWNER: NICKELS AND DIMES INCORPORATED

CORRESPONDENCE ADDRESS:
ANGELO J. BUFALINO
VEDDER PRICE KAUFMAN & KAMMHOLZ
222 NORTH LASALLE STREET - 24TH FLOOR
CHICAGO IL 60601


                                            NOTICE OF ACCEPTANCE
                                                           15 U.S.C. Sec. 1058(a)(3)


THE COMBINED AFFIDAVIT AND RENEWAL APPLICATION FILED FOR THE ABOVE-IDENTIFIED REGISTRATION MEETS THE REQUIREMENTS OF SECTION 8 OF
THE TRADEMARK ACT, 15 U.S.C. Sec. 1058.

ACCORDINGLY, THE SECTION 8 AFFIDAVIT IS ACCEPTED.


                                                    ***********************************************

                                               NOTICE OF RENEWAL
                                                             15 U.S.C. Sec. 1059(a)


THE COMBINED AFFIDAVIT AND RENEWAL APPLICATION FILED FOR THE ABOVE-IDENTIFIED REGISTRATION MEETS THE REQUIREMENTS OF SECTION 9 OF
THE TRADEMARK ACT, 15 U.S.C. Sec. 1059.

ACCORDINGLY, THE REGISTRATION IS RENEWED.


                                                    ***********************************************


THE REGISTRATION WILL REMAIN IN FORCE FOR CLASS(ES):
041.


SMITH, WYE J
PARALEGAL SPECIALIST
POST-REGISTRATION DIVISION
(703)308-9500

                                     PLEASE SEE THE REVERSE SIDE OF THIS NOTICE FOR INFORMATION
                                     CONCERNING REQUIREMENTS FOR MAINTAINING THIS REGISTRATION
                                                             ORIGINAL
          USDC IN/ND case 3:23-cv-00699-CCB-SJF                                               document 1-1                   filed 07/25/23                page 3 of 4


REQUIREMENTS FOR MAINTAINING A FEDERAL TRADEMARK REGISTRATION

I) SECTION 8: AFFIDAVIT OF CONTINUED USE

The registration shall remain in force for 10 years, except that the registration shall be canceled for failure to file an Affidavit of Continued Use under Section 8 of the Trademark
Act, 15 U.S.C. Sec. 1058, at the end of each successive 10-year period following the date of registration.

Failure to file the Section 8 Affidavit will result in the cancellation of the registration.



II) SECTION 9: APPLICATION FOR RENEWAL

The registration shall remain in force for 10 years, subject to the provisions of Section 8, except that the registration shall expire for failure to file an Application for Renewal
under Section 9 of the Trademark Act, 15 U.S.C. Sec. 1059, at the end of each successive 10-year period following the date of registration.

Failure to file the Application for Renewal will result in the expiration of the registration.




NO FURTHER NOTICE OR REMINDER OF THESE REQUIREMENTS WILL BE SENT TO THE REGISTRANT BY THE PATENT AND TRADEMARK OFFICE. IT IS
RECOMMENDED THAT THE REGISTRANT CONTACT THE PATENT AND TRADEMARK OFFICE APPROXIMATELY ONE YEAR BEFORE THE EXPIRATION OF THE
TIME PERIODS SHOWN ABOVE TO DETERMINE APPROPRIATE REQUIREMENTS AND FEES.
USDC IN/ND case 3:23-cv-00699-CCB-SJF   document 1-1   filed 07/25/23   page 4 of 4
